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              VIA ECF

                                                                                      March 18, 2019

              Honorable Cecilia G. Morris
              U.S. Bankruptcy Court
              One Bowling Green
              New York, New York 10004

                                                                Re:    Eddie A. Coryat, Chapter 13
                                                                       Case No. 18-10342-CGM
              Dear Judge Morris:

                      My firm represents Eddie A. Coryat (the “Debtor”) and submits this letter as a status
              report on his behalf regarding the loss mitigation process in his chapter 13 case.

                      Since the last status report submitted by the Debtor in this case, TIAA Bank, the servicer
              for the Debtor’s first mortgage, requested additional information from the Debtor. Today, the
              Debtor submitted the additional financial documents requested to TIAA Bank’s loss mitigation
              point of contact. As a result, the next step in this loss mitigation process is for the servicer to
              review this submission and issue a decision on the Debtor’s application.

                       For the foregoing reason, the Debtor respectfully requests an adjournment of this week’s
              status conference to the next available date in late April 2019 to permit the servicer to complete
              its review of the updated application.

                                                                                      Very truly yours,

                                                                                      /s/Martha J. de Jesus

                                                                                      Martha J. de Jesus, Esq.
                                                                                      Associate
              cc:       Ms. Deborah Callahan
                        Shapiro, DiCaro & Barak, LLC
                        Designated Loss Mitigation Contact
